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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
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                                                             :
   UNITED STATES OF AMERICA,                                 :
                                                             : ORDER
                                                             :
                         - against -                         : 21-cr-371 (BMC)
                                                             :
                                                             :
   AL MALIK ALSHAHHI, et al.,                                :
                                                             :
                                       Defendants.           :
                                                             :
  ---------------------------------------------------------- X

  COGAN, District Judge.

          Before the Court are two related motions from defendants. Familiarity with the case is

  assumed.

          First, Grimes has moved for severance, arguing that his right to a fair trial would be

  undermined by (1) the risk of “Bruton confrontation issues”; (2) spillover bias; (3) the possibility

  of “competing trial strategies and defenses”; and (4) complications arising from the testimony of

  certain Colony Capital witnesses. 1 In a related motion in limine, Grimes argues that the

  Government’s admission at trial of Barrack’s own statements to law enforcement – even as

  against only Barrack – would be unduly prejudicial to Grimes and warrant severance.

  I.      Legal Standard

          Federal courts continually have expressed an explicit preference for conducting joint

  trials of defendants who were indicted together. See Zafiro v. United States, 506 U.S. 534, 537-

  38 (1993). This preference “is particularly strong where . . . the defendants are alleged to have




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   Although the motion for severance was authored by, and largely pertains to, Grimes, Barrack has joined in the
  motion.
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  participated in a common plan or scheme.” United States v. Fazio, 770 F.3d 160, 166 (2d Cir.

  2014) (quoting United States v. Salameh, 152 F.3d 88, 115 (2d Cir. 1998)).

         This preference makes sense – joint trials promote judicial economy by preventing

  multiple, time-consuming, and expensive proceedings. See United States v. Borelli, 435 F.2d

  500, 502 (2d Cir. 1970). Nevertheless, Fed. R. Crim. P. Rule 14(a) allows a district court to

  grant severance as a matter of discretion. See, e.g., United States v. Werner, 620 F.2d 922, 926

  (2d Cir. 1980). In deciding whether severance is warranted pursuant to Rule 14(a), courts

  consider the following factors, aimed at determining whether a defendant is substantially

  prejudiced:

         (1) the number of defendants; (2) the number of counts; (3) the complexity of the
         indictment; (4) the estimated length of trial; (5) disparities in the amount or type
         of proof offered against each defendant; (6) disparities in the degrees of
         involvement by each defendant in the overall scheme; (7) possible conflict
         between various defense theories or trial strategies; and (8) prejudice from
         evidence admitted against co-defendants which is inadmissible or excluded as to a
         particular defendant.

  United States v. Upton, 856 F. Supp. 727, 736 (E.D.N.Y. 1994). Although “none of these factors

  is dispositive, each is intended to provide guidance as to whether a jury will be capable of

  considering the evidence as to each defendant separately, independent of evidence against co-

  defendants.” United States v. Ramos, 346 F. Supp. 2d 567, 570 (S.D.N.Y. 2004).

         Even if there is a risk of prejudice, “less drastic measures – such as limiting instructions –

  often suffice as an alternative to granting a Rule 14 severance motion.” United States v. Feyrer,

  333 F.3d 110, 114 (2d Cir. 2003). Rule 14 “leaves the tailoring of the relief to be granted, if any,

  to the district court’s sound discretion.” Zafiro, 506 U.S. at 539.




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  II.    Analysis

         Upon consideration of the Upton factors, Grimes has not adequately identified sufficient

  prejudice to warrant severance. Even if he had, the prejudice to either defendant is not

  “sufficiently severe to outweigh the judicial economy that would be realized by avoiding lengthy

  multiple trials.” United States v. Lanza, 790 F.2d 1015, 1019 (2d Cir. 1986) (quoting United

  States v. Panza, 750 F.2d 1141, 1149 (2d Cir. 1984)). Were Grimes to be tried separately, it

  would be “[un]likely to result in a significant time savings . . . because much of the evidence

  regarding the conspiracy would be admissible against [both] defendants,” and would place an

  unwarranted additional burden on the Court and prosecutors. United States v. Stein, 428 F.

  Supp. 2d 138, 145 (S.D.N.Y. 2006) (listing as efficiencies “the risk of inconsistent verdicts, the

  burden on the court and the prosecution of trying the defendants or several groups of defendants

  seriatim, and the need for defense counsel to cover repeatedly on cross-examination in

  successive trials material that could be covered but once in a joint trial”). This will be a lengthy

  trial, with a complex indictment and a significant overlap in the evidence as to the defendants.

  See Upton, 856 F. Supp. at 736. And with only two defendants, and a limited number of counts,

  a jury is more than “capable of considering the evidence as to each defendant separately,

  independent of evidence against co-defendants.” Ramos, 346 F. Supp. 2d at 570 (quoting United

  States v. Santiago, 174 F. Supp. 2d 16, 22 (S.D.N.Y. 2001).

         A.      The Confrontation Clause and Bruton Issues

         Grimes asserts that, since both he and Barrack made statements to the grand jury or law

  enforcement that the Government seeks to admit at trial, the “constitutional concerns” this

  creates would “necessarily justify a severance in this case.”

         The Confrontation Clause “prohibits the introduction of the confession of a non-testifying

  codefendant that implicates the defendant in a crime.” United States v. Lung Fong Chen, 393


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  F.3d 139, 148 (2d Cir. 2004) (citing United States v. Bruton, 391 U.S. 123, 126 (1968)).

  However, the scope of Bruton is limited to a co-defendant’s confession that is “incriminating on

  its face,” Richardson v. Marsh, 481 U.S. 200, 208 (1987), and then only when admitted for a

  non-hearsay purpose. See United States v. DeVillio, 983 F.2d 1185, 1193-94 (2d Cir. 1993) (no

  Bruton violation where “the statements at issue fall within the purview of Rule 801(d)(2)(E) and

  were admissible as statements made in furtherance of’ the conspiracy”).

         The Government has clarified that it does not intend to introduce any of Barrack’s

  statements to law enforcement at trial that reference Grimes, nor will it seek to admit any of

  these statements against him by use of a limiting instruction. This eliminates any issues under

  Bruton.

         Nevertheless, Grimes remains concerned about the prejudicial impact of admitting

  Barrack’s statements to law enforcement in June 2019 against Barrack. Defendants argue that,

  even with a limiting instruction, this will not be enough to cure prejudice stemming from the

  introduction of any of these statements as only against Barrack. But “even where multiple

  defendants are charged with the same crimes, the use of an out-of-court admission does not

  violate the Confrontation Clause when accompanied by an instruction limiting its admissibility

  as against the declarant defendant.” United States v. Defreitas, 701 F. Supp. 2d 309, 315

  (E.D.N.Y. 2010) (citing In re Terrorist Bombings of U.S. Embassies in East Africa, 552 F.3d 93,

  135-37 (2d Cir. 2008)); see also United States v. Harris, 167 F. App’x 856, 859 (2d Cir. 2006)

  (no Confrontation Clause issue where statements were offered only against declarant and

  accompanied by proper jury instruction).

         Here, a limiting instruction will be sufficient to cure any prejudice. Although limiting

  instructions may not always be entirely curative in certain instances, courts ordinarily “presume




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  that juries understand and abide by a district court’s limiting instructions.” United States v.

  Downing, 297 F.3d 52, 59 (2d Cir. 2002). In this case, “the prejudicial spillover [is not] so

  overwhelming [that] they cannot be presumed to be effective.’” See United States v. Riggi, 541

  F.3d 94, 104 (2d Cir. 2008) (quoting United States v. McDermott, 245 F.3d 133, 140 (2d Cir.

  2001)). Severance under Bruton is not warranted.

          For the same reason, Grimes’ motion to exclude Barrack’s statements to law enforcement

  must also be denied. Because the Government does not intend to introduce any of Barrack’s

  statements to law enforcement against Grimes, his argument that these statements are

  inadmissible as co-conspirator statements under Federal Rule of Evidence Rule 801(d)(2)(E) is

  moot. And because the Government does not intend to introduce any of Barrack’s statements to

  law enforcement that reference Grimes, there is no Confrontation Clause issue, nor is there any

  requirement that these statements be “Brutonized”. See Richardson, 481 U.S. at 208 (a statement

  implicates Bruton only if “incriminating on its face”). Therefore, as above, a limiting instruction

  is therefore sufficient to cure any prejudice.

          Defendants shall propose the particular limiting instruction at trial and the Court will

  consider it..

          B.      Spillover Bias

          Grimes relatedly contends that he should not be tried with Barrack, his alleged co-

  conspirator, because (1) as his own role is allegedly smaller than Barrack’s, there is a disparity in

  evidence, and (2) because Barrack was charged on additional counts. His argument is

  unpersuasive. It is well settled that a “disparity in the quantity of evidence and of proof of

  culpability are inevitable in any multidefendant trial, and by themselves do not warrant a

  severance.” United States v. Cardascia, 951 F.2d 474, 483 (2d Cir. 1991); see also United States

  v. Corsey, 512 F. App’x 6, 7 (2d Cir. 2013) (“differing levels of culpability and proof are


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  inevitable in any multi-defendant trial and, standing alone, are insufficient grounds for separate

  trials”) (quoting United States v. Chang An–Lo, 851 F.2d 547, 557 (2d Cir. 1988)). “Even joint

  trials involving defendants who are only marginally involved alongside those heavily involved

  are constitutionally permissible.” United States v. Spinelli, 352 F.3d 48, 55 (2d Cir. 2003)

  (citations and quotation marks omitted). The mere fact “that one defendant’s ‘role in a

  conspiracy may have been smaller or less central than that of certain other coconspirators does

  not mandate a separate trial’ on the grounds of prejudicial spillover.” United States v. Moody,

  660 F. Supp. 2d 340, 345 (D. Conn. 2009) (quoting United States v. Neresian, 824 F.2d 1294,

  1304 (2d Cir. 1987)). Further, “[t]he fact that one of several codefendants is tried for a crime not

  committed by another codefendant does not, without more, create the sort of miscarriage of

  justice that would require a new trial.” United States v. Hernandez, 85 F.3d 1023, 1029 (2d Cir.

  1996). 2

             Given that defendants are alleged to have taken part in a common scheme, it is by no

  means clear that the evidence at separate trials would be significantly different, even if the roles

  each played in the conspiracy were not identical. See United States v. Rosa, 11 F.3d 315, 342




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    Grimes cites several district court decisions granting severance because of the risk of potential spillover. All are
  inapposite. Most of them involved either (1) prejudicially violent charges inapplicable to some defendants, or (2)
  defendants who played a much more tangential role in the larger conspiracy than Grimes is accused of here. See
  United States v. Burke, 789 F. Supp. 2d 395, 399 (E.D.N.Y. 2011) (granting severance upon finding that the “risk of
  prejudicial spillover is significant” where defendant was “charged in a complex indictment with two counts that are
  both limited in scope and in time” whereas his co-defendants were charged with violent criminal acts, spanning
  three decades); United States v. Locascio, 357 F. Supp. 2d 536 (E.D.N.Y. 2004) (granting severance because the
  evidence as to the nonmoving defendants in a large racketeering conspiracy had little to do with the proof against the
  moving defendants); Upton, 856 F. Supp. at 737 (granting severance for defendants where the “allegations would
  not involve much evidence relating to [them] and would not involve the same witnesses,” but denying severance as
  to two defendants, who were “integrally related and intertwined,” even though they were “not charged with the same
  substantive acts as the others”); United States v. Gilbert, 504 F. Supp. 565, 571 (S.D.N.Y. 1980) (granting severance
  where defendant made sufficient showing that there was a “substantial risk that he would be prejudiced by the
  gradually accumulating effect of evidence of [co-defendant’s] wrongdoing” where the conspiracy began “long
  before” his involvement, and primarily involved a transaction where he played “no part”).




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  (2d Cir. 1993) (“Evidence of the workings of the conspiracy would therefore have been

  admissible at the individual trials of [the defendants], had they been tried separately.”). Any

  evidence going only to the additional counts as to Barrack – all of which necessarily rely upon

  evidence of the conspiracy – is easily segregable, as these counts concern conduct that took place

  long after the conspiracy terminated. Nor is this a case where the evidence is so inflammatory

  that there is reason to be concerned that a jury may have difficulty in considering the evidence

  against each defendant separately. And there is no a significant risk of jury confusion.

         Finally, any potential prejudice here may be properly remedied by a careful instruction.

  See, e.g., United States v. O’Connor, 650 F.3d 839, 860 (2d Cir. 2011) (limiting instruction to

  consider the evidence separately as to each defendant was adequate in a sex trafficking/incest

  case where evidence was introduced of the non-moving defendant’s past pedophilic conduct and

  proclivities); see also United States v. Ramos, No. 12-cr-556, 2013 WL 1932110, at *4

  (S.D.N.Y. May 8, 2013) (denying severance of defendants on grounds that even if the defendant

  might be subject to some spillover prejudice at a joint trial, any such prejudice could be remedied

  through an appropriate limiting instruction to the jury).

         C.      Inconsistent Defense Theories

         Next, Grimes argues that the trial should be severed because certain defense theories that

  he intends to present are inconsistent, and potentially in conflict with, those of Barrack. At trial,

  Grimes plans to emphasize the differences between him and Barrack, suggesting that Barrack

  “was the ultimate decisionmaker, and when it mattered, [he] left [Grimes] out of the

  communications and meetings entirely.” Grimes also suggests that he may point out that he

  “reasonably believed that he would have been” informed of any compliance necessary “by

  lawyers and compliance people, including [] Barrack himself, while working at Colony.”




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         These defenses do not present the type of conflict that would require severance. They are

  not “mutually antagonistic,” nor would they make Grimes act as a prosecutor against Barrack.

  Grimes admits that the defenses he intends to present are not “mutually antagonistic per se to []

  Barrack’s,” but instead are merely “conflicting.” However, to show prejudice, “the defenses

  must conflict to the point of being so irreconcilable as to be mutually exclusive.” United States v.

  Cardascia, 951 F.2d 474, 484 (2d Cir. 1991) (citation omitted). That kind of prejudice only

  obtains “when accepting one defense . . . ‘the jury must of necessity convict a second

  defendant.’” United States v. Yousef, 327 F.3d 56, 151 (2d Cir. 2003) (quoting Cardascia, 951

  F.2d at 484).

         Criminal liability here will turn on whether each defendant agreed to act, and did act, as

  an agent of a foreign government. Although defendants may present different theories to the jury

  and may disagree about some of the underlying facts, each defendant could be acquitted (or

  convicted) under either side’s presentation of the facts. Grimes’ defenses do not require a jury to

  find Barrack guilty if that jury accepts his defense. Indeed, Grimes states that he “believed that

  [] Barrack was acting on behalf of his company, Colony, and not as an agent of the UAE.”

         This also explains why Grimes will not be acting as a second prosecutor of Barrack.

  Where courts have granted severance on this basis, the circumstances were “not solely one of

  ‘co-defendants seek[ing] to place the blame on each other.’” United States v. Shkreli, 260 F.

  Supp. 3d 247, 257 (E.D.N.Y. 2017) (granting severance on this basis where one defendant

  intended “to present a defense that no crime was committed”, while his co-defendant intended to

  “present evidence and argue that [his co-defendant] is guilty as charged” and that he was “but

  another victim of [his co-defendant’s] lies and deceitfulness”); see also United States v.

  Nordlicht, No. 16-cr-00640, 2018 WL 1796542, at *3 (E.D.N.Y. April. 16, 2018) (severing trial




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  where one defendant intended “to argue that . . . his co-defendants are guilty as charged, and that

  he was, at worst, merely an unknowing pawn in their alleged frauds”).

          Such circumstances are not at issue here. Grimes is not intending to portray himself as a

  “victim” whose co-defendant “is guilty as charged,” even if, at times, he intends to emphasize

  their different roles.

          D.      Cross-Examination of Colony

          Grimes’ final basis for severance arises out of potential limitations the Court noted it

  might place on Barrack’s cross-examination of certain witnesses due to conflict issues. Grimes

  argues that this may lead his counsel to “question these individuals differently,” thereby

  potentially prejudicing Barrack.

          First, any limitations are still purely speculative. Regardless, the Court agrees with the

  Government that Barrack, after knowingly and intelligently waiving any objection to limitations

  placed on his counsel arising out of their client relationship with Colony, cannot, as the

  Government puts it, “now use this waived conflict as a sword to sever the case.” Grimes cannot

  claim any potential prejudice arising from any limitation as to Barrack’s counsel.

          Accordingly, defendants’ motion for severance [112] and the related motion in limine

  [160] are denied.

  SO ORDERED.                                    Digitally signed by Brian
                                                 M. Cogan
                                                ______________________________________
                                                              U.S.D.J.

  Dated: Brooklyn, New York
         September 10, 2022




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